Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 1 of 9




                 Reply Exhibit 3
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 2 of 9




              DEPARTMEN'r OF HEALTH AND HOMAN SERVICES
               Health Care Financing Administration
                        Division of Medicare
                     2201 Sixth Avenue, RX-44
                  Seattle, Washington 98121-2500

                      REGIONAL MEDICARE LETTER
Part B 94-0S!DMERC 94-01                           January 14, 1994

SUBJECT:   Changes to Pricing and Processing of Certain Items of
           Durable Medical Equipment (DME) Required by the Omnibus
           Budget Reconciliation Act (OBRA) of 1993--ACTION

As a result of the Omnibus Budget Reconciliation Act of 1993, a
number of changes have occurred in the treatment of certain DME
items formerly classified as items requiring frequent and
substantial servicing. These changes require action by the DME
regional carriers and those carriers whose DME workload has not
yet transitioned to the regional carriers:
A.    Durable Medical Equipment (DME) that is reclassified from
      the nItems Requiring Frequent aDd Substantial Servicing"
      Category to the nCapped Rental- Category.
      1.   The following items have been reclassified as capped
           rental items effective January 1, 1994. As such,
           suppliers are bound by the provisions of section
           5102.1.E of the Medicare Carriers Manual regarding
           payment for these items.
           "E0452    Intermittent assist device
           E0601     Continuous airway pressure device
           E0570     Nebulizer, with compressor
           ·~0585    Nebulizer, with compressor and heater
           E0600     Suction pump
      2.   For purposes of computing tte 10-month purchase option
           or the IS-month period for capped rental items.
           carriers are to begin counting from the first month
           that the beneficiary continuously rented the equipment_
           If the beneficiary rented the equipment for 15 or more
           months prior to January 1, 1994, no further rental
           charges can be made.




                                                             AWQ074-0004   F
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 3 of 9




                                                                       2

  B.     DMB that is reclassified from the It8m8 Requiring Frequent
         and Substantial Servicing Category to the Inexpensive or
         Other Routinely Purchased Category.
         1.   The following item has been reclassified to the
              inexpensive or other routinely purchased category
              effective January 1, 1994. As such, suppliers are
              bound by the provisions of section S102.1.A of the
              Medicare Carriers Manual regarding payment for this
              item.
              81375     Nebulizer, portable
         2.   Total payment for this item is limited to the purchase
              fee schedule amount. Begin calculating the total
              payment amount beginning with the first month the
              beneficiary continuously rented the equipment.
              Therefore,' if the total rental payments for this item
              equals or exceeds the fee schedule purchase price,
              cease making further payment.
              Example: The purchase fee schedule amount for the item
              is $500. If the beneficiary's total rental payments
              are equal to or exceed $500 prior to January 1, 1994,
              cease making further payment.
 NOTE:        If you erroneously make payments in excess of the
              amounts permitted under A. or B. above, recover any
              such overpayments.
 C.      Payment for Drug Dispensing Fees
         1.   General -- Formerly, the costs of dispensing drugs for
              use in nebulizers was included in the rental allowance.
              As a result of the OBRA 1993 changes, fees are based on
              purchase allowances and many nebulizer rentals will be
              terminated. Therefore, for dates of service on or
              after January 1, 1994, where pharmacies p+ovide drugs
              used in nebulizers, a monthly dispensing fee for each
              drug, in addition to the payment for the drug, may be
              paid. The fee may be paid =egardless of whether the
              nebulizer is rented or owned. A new HCPCS code has
              been established for the billing of this fee.   Please
              see the enclosure for the code.
         2.   Pricing -- Utilize an allowance of $5.00 for 'the
              dispensing fee. This corresponds with the dispensing
              fee which is provided for in the President's Medicare
              prescription drug proposal contained in the Health Care
              Reform legislation.




                                                             AWQ074-0005
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 4 of 9




                                                                    3

D.   Payment for Accessories
     1.   General -- CUrrently, Medicare does not pay separately
          for accessories to rented DME. OBRA 1993 requires a
          substantial departure from that policy for all covered
          aspirators and nebulizers and also for those ventilator
          type devices that are not considered to be_frequently
          and substantially serviced. For dates of service on or
          after January 1, 1994, Medicare will pay separately for
          the accessories for such devices (the devices listed in
          A. and B. above, the ultrasonic nebulizer (B0575) and
          the two new devices described in the enclosed). A
          number of new K codes have been established for these
          accessories (described in the attached). The fee
          schedule amounts for the new codes for each state are
          to be determined by the DME regional carrier.
     2.   Pricing -- DME regional carriers are to establish
          accessory fee amounts and fee amounts for the two new
          devices. They must provide the fee amounts for these
          items for states that have not yet transitioned to the
          local carriers serving those states by January 7, 1994.
          Those local carriers are to use the fees for pricing
          those items until claims are transitioned to the DME
          regional carrier. DME regional carriers must also
          provide the necessary fee amounts to the Regional Home
          Health Intermediaries and the Railroad Retirement
          Board.
B.   Supplier Notification
     DME regional carriers must include notification of these
     revised payment policies in their January supplier
     bulletins. If a DME regional carrier is unable to include
     the information in its January bulletin, it must prepare a
     special bulletin for distribution to the suppliers in its
     region. Local carriers serving states that have not yet
     transitioned are to include notif:cation within 30 days of
     receipt of this memorandum. The attached contains suggested
     supplier notification language. You are free to modify this
     language to any extent that you feel is necessary to make
     these policies clear.




                                                           AWQ074-0006
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 5 of 9




                                                                     4


Should you have any questions regarding this Regional Medicare
Letter please contact Patty wagner at (206) 615-2350.
                                        /s/
                                Beverly J. Bell, Chief
                                Medicare Operations Branch
Enclosure
Retention:
Indefinite




                                                             AWQ074-0007
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 6 of 9




                                                                      5

                                                             Enclosure

               Suggested Supplier Notification Language


1.   Effective January 1, 1994, the law no longer requires that
     the following items be categorized as Items Requiring
     Frequent and Substantial Servicing., The following items
     have been reclassified as Capped Rental Items.
             Intermittent assist device (E0452)
             Continuous airway pressure device (E0601)
             Nebulizer, with compressor (E0570)
             Nebulizer, with compressor and heater (EOS8S)
             Suction pump (E0600)
     For purposes of computing the 10-month purchase option or
     the 1S-month limit on rental for capped rental items, begin
     counting the first month that the beneficiary continuously
     rented the equipment. Therefore, if the Medicare        '
     beneficiary began renting one of these items on or after
     March 2, 1993. you must offer the beneficiary a purchase
     option because at least one day of the tenth rental month
     will occur on or after January 1, 1994. If, on January 1,
     1994, the beneficiary has rented one of these items for 15
     months or more,you must cease billing since the 1S-month
     capped rental limitation will have been met.
             Example 1 - If the equipment has been continuously
             rented beginning or before, October 1992, no further
             rental payments are made for dates of service in 1994
             since 15 months rental will have occurred before
             January' 1994. The semi-annual maintenance and service
             provision begins July 1, 1994.
             Example 2 - If the beneficiary began renting the
             equipment between March 2, 1993 and April 30, 1993, the
             supplier must offer the beneficiary the purchase option
             during January 1994 as some portion of the
             beneficiary's 10th rental month will be in January. If
             the 10th rental month has ended prior to January 1994,
             the purchase option provision can not be offered to the
             beneficiary as this option may only be offered during
             the 10th rental month.
IMPORTANT:        If you bill in excess of the amounts permitted
                  under the provisions stated above, Medicare will
                  recover, as overpayments, any erroneous payments
                  made for such bills.




                                                             AWQ074-0008
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 7 of 9




                                                                    6

2.   The following item has been reclassified as Inexpensive or
     Other Routinely Purchased:
     Nebulizer, portable (E137S)
     Total payment for this item is limited to the purchase fee
     schedule amount. Begin calculating the total payment amount·
     beginning with the first month the beneficiary continuously
     rented the equipment. Once the total rental payments for
     E~375 equals or exceeds the fee schedule purchase price,
     Medicare will cease making payments for dates of service in
     1994. Medicare will pay for services billed in 1994 with
     dates of service in 1993, even if the purchase price was
     exceeded on that date of service.
IMPORTANT:      If you bill in excess of the amounts permitted
                under the provisions stated above, Medicare will
                recover, as overpayments, any erroneous payments
                made for such bills.
3.   For dates of service on or after January 1, 1994,
     accessories used with those items listed above or with the
     two new items listed below should be billed separately
     whether the item is being rented or has been purchased. Use
     the following accessory codes:
     DME Nebulizer Accessories
     K0168      Administration set, small volume nonfiltered
                pneumatic nebulizer, disposable
     K0169      Small volume nonfiltered pneumatic nebulizer,
                disposable
     K0170      Administration set, small volume nonfiltered
                pneumatic nebulizer, non-disposable
     KOl71      Administration set, small volume filtered
                pneumatic nebulizer
     KOl72      Large volume nebulizer, disposable, unfilled, used
                with aerosol compresso~
     K0173      Large volume nebulizer, disposable, prefilled,
                used with aerosol compressor




                                                            AWQ074-0009
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 8 of 9




                                                                    7

      K0174     Reservoir bottle, non-disposable, used with large
                volume ultrasonic nebulizer
      K0175     Corrugated tubing, disposable, used with large
                volume nebulize~, 100 feet
      K0176     Corrugated tubing, non-disposable, used with large
                volume nebulizer, 10 feet
      K0177     Water collection device, used with large volume
                nebulizer
      K0178     Filter, disposable, used with aerosol compressor
      K0179     Filter, non-disposable, used with aerosol
                compressor or ultrasonic generator
      K01SO     Aerosol mask, used with DME nebulizer
      K0181     Dome and mouthpiece, used with small volume
                ultrasonic nebulizer
      K0182     Water, distilled, used with large volume
                nebulizer, 1000 ml
      CPAP device accessories
      K0183     Nasal application device, used with CPAP device
      K0184     Nasal pillows/seals, replacement for nasal
                application device, pair
      K018S     Headgear, used with CPAP device
     K0186      Chin strap, used with CPAP device
     K0187      Tubing, used with CPAP device
     KOlB8      Filter, disposable, used with CPAP device
      KOlB9     Filter, non-disposable, used with CPAP device
      Suction pump accessories
     K0190      Canister, disposable, used with suction pump
      K0191     Canister, non-disposable, used with suction pump
      K0192     Tubing, used with suction pump




                                                            AWQ074-0010
Case 1:01-cv-12257-PBS Document 7055-4 Filed 04/15/10 Page 9 of 9




                                                                    8

 3.   Two new device codes have been established, both of which
      will be capped rental devices:
      K0193     Continuous positive ai~ay pressure device, with
                humidifier   .
      K0194     Intermittent assist device with continuous
                positive airway pressu~e, with humidifier
 4.   For dates of service on or after January 1, 1994, where
      pharmacies provide drugs used in nebulizers, a monthly
      dispensing fee for each drug, in addition to the payment for
      the drug, may be paid. The fee may be paid regardless of
      whether the nebulizer is rented or owned. A new HCPCS code
      has been established for the billing of this fee:
      Q0132     Dispensing fee for covered drug administered
                through DME nebulizer



                       LAST PAGE OP ENCLOSURE




                                                           AWQ074-0011   L
